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                             UNITED STATES DISTRICT COURT
                                 Northern District of Ohio

     O'Donnell

        Plaintiff                                 CONSENT TO EXERCISE OF JURISDICTION
                                                  BY A UNITED STATES MAGISTRATE JUDGE
                 v.                               AND ORDER OF REFERENCE

     University Hospitals Health                 Case Number:      1:16-cv-02480-DCN
        Defendant

     CONSENT TO EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE

        In accordance with the provisions of 28 U.S.C. 636(c) and Fed. R. Civ. P. 73, the parties in this case
hereby voluntarily consent to have a United States magistrate judge conduct any and all further proceedings
in the case, including the trial, and order the entry of a final judgment.

                      Signatures                         Party Represented                 Date




                                      ORDER OF REFERENCE

       IT IS HEREBY ORDERED that this case be referred to Jonathan D. Greenberg                      United
States Magistrate Judge, for all further proceedings and the entry of judgment in accordance with 28 U.S. C.
636(c), Fed.R.Civ.P. 73 and the foregoing consent of the parties.



          Date                                                   United States District Judge



NOTE:            RETURN THIS FORM TO THE CLERK OF THE COURT ONLY IF ALL PARTIES
                 HAVE CONSENTED ON THIS FORM TO THE EXERCISE OF JURISDICTION BY
                 A UNITED STATES MAGISTRATE JUDGE.
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                                      UNITED STATES DISTRICT COURT
                                          Northern District of Ohio


                                                  NOTICE & ORDER


Pursuant to 28 U.S.C. §636(c)(1) and LR 73.1, a Magistrate Judge of the Northern District of Ohio may, upon
consent of all parties to an action, and entry of an order of reference by the Judge, exercise trial jurisdiction in
civil actions, both jury and non-jury, and enter final judgment therein.

If all parties to this action consent and an order of reference is entered, the case will be assigned to a
Magistrate Judge pursuant to LR 73.1. If all parties do not consent, or if an order of reference is not entered,
the action will remain with the Judge to whom it is assigned. The decision of counsel on this matter of
consent is entirely voluntary. Your response is joint, and disclosure of individual decisions is not required.

Pursuant to Local Civil Rule 73.1, Recusal, Resignation or Death of Magistrate
Judge, where the parties have consented of the transfer of a civil case to a Magistrate Judge under section
(a) above, if the Magistrate Judge thereafter recuses, resigns or dies, the case shall be returned to the
District Court Judge. The Clerk shall immediately assign another Magistrate Judge by the random draw and
notify the parties of such new assignment. Within ten (10) days after such notification by the Clerk, the parties
shall indicate their consent, or lack thereof, to transferring the case to the newly-assigned Magistrate Judge
under 28 U.S.C. §636(c). If the parties do not consent to the transfer, the case shall remain with the District
Court Judge.

At the time the last appearance of counsel is made on behalf of the named defendant, the parties are to
communicate with each other on this matter. It is the responsibility of plaintiff’s counsel to initiate such
consultation. The response is to be returned within ten (10) days of the last appearance. The
response must contain the signatures of all counsel.

Pursuant to 28 U.S.C. §636(c)(3) all appeals relating to magistrate consent cases must be heard only in the
court of appeals.

Please file the proposed consent electronically using the civil event "Notice". Parties representing
themselves should sign and send form to the Clerk's Office. If an order of reference is entered by the Court,
you will be advised by the Clerk as to which Magistrate Judge the has been assigned for further proceedings.


                                                      Geri M. Smith,
                                                      Clerk of Court


                                             (See form on the reverse side)
o:\forms\consent.pdf
revised March 2008
